  Case: 1:16-cv-08637 Document #: 966 Filed: 06/15/18 Page 1 of 4 PageID #:28504




                           UNITED STATESDISTRICT COURT
                           NORTHERN DISTRICT OFILLINOIS
                                 EASTERN DIVISION


 IN RE BROILER CHICKEN ANTITRUST                 Case No. 1:16-cv-08637
 LITIGATION
                                                 NOTICE OFVOLUNTARY DISM ISSAL
 This Document Relates To:                       W ITHOUT PREJUDICE

 All Commercial and Institutional Indirect       (Chef Marc)
 Purchaser Plaintiff Actions



       PLEASE TAKE NOTICE THAT, pursuant to Federal Rule of Civil Procedure

41(a)(1)(A)(i), WeLoveCaesar LLC dba Chef Marc’s Trattoria, one of the named Plaintiffs in the

Commercial and Institutional Indirect Purchaser Plaintiff (“CIIPP”) class, see CIIPPs’ Fourth

Amended Consolidated Class Action Complaint (Doc. No. 746), hereby files this notice of

voluntary dismissal without prejudice as to its individual claims and of withdrawal as named

Plaintiff for the CIIPP class. No Defendant has filed a response or answer to CIIPPs’ Fourth

Amended Consolidated Class Action Complaint, no CIIPP class has yet been certified, and

multiple named plaintiffs remain as proposed CIIPP class representatives.


Dated: June 15, 2018                         /s/ Thomas A. Doyle
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                                             Edward A. Wallace
                                             Thomas A. Doyle
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                                             Liaison Counsel for the Commercial and
                                             Institutional Indirect Purchaser Plaintiff Class
Case: 1:16-cv-08637 Document #: 966 Filed: 06/15/18 Page 2 of 4 PageID #:28505




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                                   Interim Co-Class Counsel for the Commercial
                                   and Institutional Indirect Purchaser Plaintiff
                                   Class
  Case: 1:16-cv-08637 Document #: 966 Filed: 06/15/18 Page 3 of 4 PageID #:28506




                           UNITED STATESDISTRICT COURT
                           NORTHERN DISTRICT OFILLINOIS
                                 EASTERN DIVISION


 IN RE BROILER CHICKEN ANTITRUST                  Case No. 1:16-cv-08637
 LITIGATION
                                                  [PROPOSED]ORDER REGARDING
 This Document Relates To:                        NOTICE OFVOLUNTARY DISM ISSAL
                                                  W ITHOUT PREJUDICE (ChefM arc)
 All Commercial and Institutional Indirect
 Purchaser Plaintiff Actions



       Based on the Commercial and Institutional Indirect Purchaser Plaintiff (“CIIPPs”) Notice

of Voluntary Dismissal without Prejudice, filed in the above-caption action,

       IT ISHEREBY ORDERED that:

       WeLoveCaesar LLC dba Chef Marc’s Trattoria, is voluntarily dismissed without

prejudice, as to its individual claims and of withdrawal as named Plaintiff for the CIIPP class.

Dated: June ___, 2018




                                                     HON. THOMAS M. DURKIN
                                                     U.S. DISTRICT JUDGE
  Case: 1:16-cv-08637 Document #: 966 Filed: 06/15/18 Page 4 of 4 PageID #:28507




                          CERTIFICATE OF SERVICE


      Icertifythat,onJune15, 2018, Icausedacopyoftheforegoingdocumenttobeserved

viatheCourt’sECFsystem onallCounselwhohaveappearedinthecase.




                                            /s/ThomasA D oyle
                                            ___________________________

                                            ThomasA. D oyle
